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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   ETHAN MORSE,                                      No. 1:16-cv-00142-DAD-SKO
12                      Plaintiff,
13          v.                                         ORDER VACATING JUDGMENT AND
                                                       DISMISSING CASE WITH PREJUDICE
14   COUNTY OF MERCED, et al.,
                                                       (Doc. No. 287, 304, 338)
15                      Defendants.
16

17          A judgment was previously entered in this case in favor of plaintiff on May 9, 2018,

18   following a jury trial. (See Doc. No. 287.) On August 15, 2018, the parties filed a notice of

19   settlement of this action. (Doc. No. 334.) On September 14, 2018, the parties filed a joint

20   stipulation requesting that the court vacate and set aside the previously-entered judgment. (Doc.

21   No. 338.) Thereafter, plaintiff agreed to voluntarily dismiss the action against all defendants with

22   prejudice pursuant to a settlement agreement between the parties and Rule 41(a)(1)(A)(ii) of the

23   Federal Rules of Civil Procedure. (Id.)

24          District courts are not required to vacate judgments upon settlement, but retain the

25   discretion to do so. See Click Entmt., Inc. v. JYP Entmt. Co., Ltd., No. 07–00342 ACK–KSC,

26   2009 WL 3030212, at *2 (D. Haw. Sept. 22, 2009) (“[A] district court is not required to vacate a

27   judgment pursuant to settlement, otherwise, any litigant dissatisfied with a trial court’s findings

28   would be able to have them wiped from the books.”) (quoting Bates v. Union Oil Co. of Cal., 944
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 1   F.2d 64, 650 (9th Cir. 1991)). Automatic vacatur of a previously entered judgment is appropriate

 2   where a dispute has become moot “by happenstance.” Dilley v. Gunn, 64 F.3d 1365, 1372 (9th

 3   Cir. 1995). If a dispute has become moot because of the actions of the parties, particularly the

 4   party against whom judgment is entered, then the district court must decide whether vacating the

 5   judgment is warranted “in light of ‘the consequences and attendant hardships of dismissal or

 6   refusal to dismiss’ and the ‘competing values of finality of judgment and right to relitigation of

 7   unreviewed disputes.’” Dilley, 64 F.3d at 1372; see also Am. Games, Inc. v. Trade Prods., Inc.,

 8   142 F.3d 1164, 1168 (9th Cir. 1998) (“Rule 60 provides the basis for a district courts’ vacation of

 9   judgments when the equities so demand, but it does not establish what substantive standards

10   should be employed.”).

11           Here, the court is quite familiar with the legal and factual issues presented by this case.

12   Since the parties propose that the case be mooted by their intentional acts, rather than by

13   happenstance, vacatur of the judgment is warranted only if the equities so demand. The court is

14   satisfied that the balance of the equities weighs in favor of vacatur of the judgment. The fact that

15   vacatur is jointly requested militates in favor of granting it. Numerous complicated legal and

16   factual issues were raised in this case which could serve as a basis for appeal. Moreover, the

17   matter is not yet fully resolved in that a contested motion for attorneys’ fees remains pending

18   before the court. (Doc. No. 304.) The parties therefore greatly benefit from a settlement that will

19   determine their legal rights with finality and forestall further disputes or delays. Finally, the court

20   is not concerned with potential abuse of the vacatur mechanism, given the unique factual and
21   legal circumstances of this case.

22           Accordingly, for the reasons given above, the stipulation of the parties submitted

23   September 14, 2018 (Doc. No. 338) is approved. The judgment entered on May 9, 2018 (Doc.

24   No. 287) is vacated. The pending motion for attorneys’ fees (Doc. No. 304) is denied as having

25   been rendered moot by this order. Finally, since the judgment has been withdrawn and the parties

26   now stipulate to dismissal of the entire case pursuant to Rule 41(a)(1)(A)(ii) with prejudice, the
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 1   dismissal is automatic. The Clerk of the Court is therefore directed to terminate this action and

 2   close the case pursuant to the parties’ stipulation.

 3   IT IS SO ORDERED.
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        Dated:     September 20, 2018
 5                                                          UNITED STATES DISTRICT JUDGE

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